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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. SA CV 21-00459-DOC (DFMx)                                Date: November 15, 2021

 Title: Charles Head v. Holly Zebari


 PRESENT:

                       THE HONORABLE DAVID O. CARTER, JUDGE

                 Deborah Lewman                                    Not Present
                 Courtroom Clerk                                  Court Reporter

       ATTORNEYS PRESENT FOR                            ATTORNEYS PRESENT FOR
             PLAINTIFF:                                      DEFENDANT:
            None Present                                      None Present




 PROCEEDINGS (IN CHAMBERS): ORDER OF DISMISSAL FOR LACK OF
                            PROSECUTION

       On October 19, 2021 this Court ordered Plaintiff to show cause why this case
 should not be dismissed for lack of prosecution. (Dkt. #10). Plaintiff failed to respond by
 November 2, 2021, the deadline set by the Court.

       Accordingly, the Court orders that Plaintiff’s case be DISMISSED for failure to
 prosecute, pursuant to Federal Rule of Civil Procedure 41(b).

           The Clerk shall serve a copy of this minute order on counsel for all parties in this
 action.


 MINUTES FORM 11
 CIVIL-GEN                                                          Initials of Deputy Clerk: djl
